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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                          CRIMINAL ACTION

VERSUS                                                            NO. 09-177

DALTON BENNETT, ET AL.                                            SECTION “N”



                                  ORDER AND REASONS

       Before the Court is Lance Bennett’s Motion to review Magistrate Moore’s Order Denying

Motion to Compel (Rec. Doc. 157). This motion is opposed. (See Rec. Doc. 169). In this motion,

Defendant Lance Bennet (“ Mr. Bennet”) moves the Court to review and set aside Magistrate Judge

Louis Moore’s Order denying his Motion to Compel (Rec. Doc. 132) and to order the Government

to produce a written description of each expert opinion, and the bases and reasons for it. After

considering the memoranda of counsel and the applicable law,

       IT IS ORDERED that Lance Bennett’s Motion to review Magistrate Moore’s Order

Denying Motion to Compel (Rec. Doc. 157) is DENIED, for substantially the same reasons

stated by the Magistrate Judge in his May 21, 2010 Minute Entry (Rec. Doc. 158) and for the

reasons previously stated by the undersigned in the Order and Reasons addressing Lance

Bennett’s Motion to Exclude Expert Testimony (Rec. Doc. 136).

       New Orleans, Louisiana, this 25th day of May, 2010.




                                                   KURT D. ENGELHARDT
                                                   United States District Judge
